____ FILED ___ ENTERED
____ LOGGED _____ RECEIVED
            Case
12:09 pm, Jan     1:22-cr-00042-RDB Document 1-1 Filed 01/28/21 Page 1 of 5
              28 2021
AT BALTIMORE
                                                                                             1:21-mj-208 TMD
CLERK, U.S. DISTRICT COURT
DISTRICT OF MARYLAND
           crp
BY ______________Deputy      AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I.       AFFIANT AND EXPERTISE

               1.      Your affiant, Special Agent Timothy K. Moore, after being duly sworn, states as

      follows:

               2.       Your affiant is an “investigative or law enforcement officer of the United States”

      within the meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the

      United States who is empowered by law to conduct investigations of and to make arrests for

      offenses enumerated in Section 2516 of Title 18.

               3.       Your affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

      Explosives (ATF) and is currently assigned to a joint task force comprised of ATF agents and

      detectives from the Baltimore Police Department (BPD). Your affiant has been employed by the

      ATF since 2007. Your affiant has participated in numerous investigations focusing on Controlled

      Dangerous Substance (CDS) trafficking, firearms traffickers, home invasions, gangs, kidnapping,

      and illegal firearms. Your affiant is also assigned to the Federal Bureau of Investigation (FBI)-led

      Joint Terrorism Task Force where he has participated in investigations into white nationalists,

      home-grown domestic terrorists, and homegrown violent extremists. Your affiant has conducted

      surveillance of suspected CDS and firearms traffickers; interviewed numerous individuals

      involved in gangs, the CDS trafficking trade, and the illegal firearms trade; participated in several

      Title III wiretap investigations as an affiant, monitor, and member of surveillance teams;

      participated in the execution of hundreds of state and federal search and arrest warrants involving

      CDS traffickers, firearms traffickers, violent offenders to include home invasion crews, domestic

      terrorists/extremists, and prohibited persons in possession of firearms; and participated in the

      seizure of numerous firearms and large amounts of controlled dangerous substances.



                                                        1
             Case 1:22-cr-00042-RDB Document 1-1 Filed 01/28/21 Page 2 of 5

                                                                                       1:21-mj-208 TMD


        4.       This Affidavit is made for the limited purpose of establishing probable cause in

support of a Criminal Complaint alleging that Blaine Kenneth KLUGE possessed a firearm that

was not registered to him in the National Firearms Registration and Transfer Record (NFRTR), to

wit, a silencer, in violation of Title 26 U.S.C. § 5861(d). Because this Affidavit is for the limited

purpose of establishing probable cause to support the Criminal Complaint, it contains only a

summary of relevant facts. I have not included each and every fact known to me concerning the

entities, individuals, and the events described in this Affidavit.

        5.       The statements made in this Affidavit are based in part on: (a) my personal

participation in this investigation; (b) information provided to me by other law enforcement

officers; (c) criminal history records maintained by various law enforcement agencies, the Bel Air

Police Department, and the ATF; and (d) the training and experience of myself and other law

enforcement agents and officers.

        6.       Based on my personal participation in this investigation, as well as reports made to

me by other investigators and officers of the Bel Air (Maryland) Police Department (BAPD), I am

familiar with the facts and circumstances of this investigation.

        7.       I have not included all of the information relevant to the investigation in this

affidavit, but I do not believe that I have omitted any information that would have a tendency to

defeat a showing of probable cause. To the best of my knowledge and belief, all statements made

in this affidavit are true and correct.

II.     PROBABLE CAUSE

        8.       On October 30, 2019, the Honorable Susan Hazlett of the District Court of

Maryland for Harford County authorized warrants to search KLUGE’s residence; 1952




                                                  2
            Case 1:22-cr-00042-RDB Document 1-1 Filed 01/28/21 Page 3 of 5

                                                                                        1:21-mj-208 TMD


Pleasantville Road, Forest Hill, Maryland for evidence of a burglary. Investigators executed the

warrant that same day.

       9.         While the entire residence was searched, the majority of evidence was found in

KLUGE’s bedroom, which was identified by KLUGE’s father as being KLUGE’s bedroom. In

addition to his father identifying it as his bedroom, W-2 paystubs in KLUGE’s name were found

on the coffee table, along with mail in his name found scattered throughout the room. During the

warrant execution, investigators recovered the following (among other items):

              a. A suspected homemade silencer.

              b. A replica Nazi knife with a swastika on it.

              c. A replica German military helmet bearing Nazi symbols.

              d. A ballistic vest with rifle plates, with two loaded magazines of .223 cal.

                 ammunition stored inside the vest.

              e. Over twenty-five hundred rounds of varying caliber ammunition.

       10.       The suspected homemade silencer was found on top of a locked, stand-up gun safe

in KLUGE’s bedroom that was large enough to fit a number of handguns and rifles. However,

when investigators opened the safe, there were no guns in it, rather they found a ballistic vest and

two loaded magazines. In my training, knowledge, and experience, I know that people who

generally possess large amounts of varying caliber ammunition will typically possess handguns

and/or rifles that accommodate said ammunition. In this instance, with ammunition for shotguns,

assault-style rifles, hunting rifles, and one round of handgun ammunition, your affiant believes

that KLUGE likely possessed firearms that were too well concealed for investigators to find during

the search.




                                                   3
         Case 1:22-cr-00042-RDB Document 1-1 Filed 01/28/21 Page 4 of 5

                                                                                         1:21-mj-208 TMD


       11.     Following the search warrant at KLUGE’s residence and his arrest on burglary

charges, the BAPD reached out to your affiant to get an opinion on what, exactly, the item believed

to be the homemade silencer was. Your affiant examined the item but determined it would be best

to have it examined by a certified expert at the ATF Firearms Technology Criminal Branch.

Accordingly, the item in question was delivered to Firearms Enforcement Officer (FEO) Daniel

Hoffman at the ATF Firearms Technology Criminal Branch in Martinsburg, West Virginia by your

affiant. After examination and testing of the item, FEO Hoffman determined the following: that it

was, in fact, a firearm silencer as defined in Title 18 U.S.C. § 921(a)(24); that the item is a firearm

as defined in Title 18 U.S.C. § 921(a)(3)(c); and that it is also a firearm as defined in Title 26

U.S.C. § 5845(a)(7) that does not bear any manufacturer or makers marks or serial numbers as

required by Title 26 U.S.C. § 5842.

       12.     The National Firearms Registration and Transfer Record is a database in which the

transfer and documentation of legally owned and manufactured firearms falling under the National

Firearms Act is maintained. This database was queried on November 16, 2020, which revealed

that Blaine Kenneth KLUGE did not have any item registered in his name, as would be required

were the silencer found in his bedroom to be legally owned. As confirmed by FEO Hoffman’s

examination of the item, it means that the silencer was constructed by an individual rather than

purchased through legal channels.


III.   CONCLUSION

       17.     Based on the information provided above about the burglary and desecration of the

Bel Air United Methodist Church, the follow-up search warrant at KLUGE’s residence and the

items removed from his bedroom pursuant to same, coupled with the determination of FEO

Hoffman that the suspected silencer is, in fact, an actual silencer not registered in the National


                                                  4
         Case 1:22-cr-00042-RDB Document 1-1 Filed 01/28/21 Page 5 of 5

                                                                                    1:21-mj-208 TMD


Firearms Registration and Transfer Record, I believe that KLUGE possess a firearm that was not

registered to him in the National Firearms Registration and Transfer Record (NFRTR), to wit a

silencer, in violation of Title 26 U.S.C. § 5861(d).

       18.     Accordingly, based on the foregoing facts, I believe probable cause exists to

support the issuance of a Criminal Complaint charging Blaine Kenneth KLUGE with the

possession of a firearm not registered to him in the National Firearms Registration and Transfer

Record, in violation of Title 26 U.S.C. § 5861(d).


                                            _______________________________
                                            Timothy K. Moore
                                            Special Agent
                                            Bureau of Alcohol, Tobacco, Firearms and Explosives


 Affidavit submitted by email and attested to me as true and accurate by telephone consistent

 with Fed. R. Crim. P. 4.1 and 41(d)(3) this           day of January, 2021.




                                            _______________________________
                                            Honorable Thomas M. DiGirolamo
                                            United States Magistrate Judge




                                                  5
